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                               THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,

                            Plaintiff,
                                                                Civil Action No. 2:17-cv-192
                    v.
                                                              JURY TRIAL DEMANDED
CANON U.S.A., INC.,

                            Defendant.


                         MOTION FOR ENTRY OF DOCKET CONTROL ORDER

              Plaintiff Display Technologies, LLC (“Display”) files this Motion for Entry of Docket

       Control Order on behalf of itself and defendant Canon U.S.A., Inc. (“Canon”). The proposed

       order is attached hereto as Exhibit A. There is no dispute over the contents of the proposed order

       between Display and Canon.

       Dated: August 8, 2017                             Respectfully submitted,


                                                         /s/ Thomas C. Wright
                                                         Thomas C. Wright
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                                                         Alex J. Whitman
                                                         Texas State Bar No. 24081210
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                                     CERTIFICATE OF CONFERENCE

       The undersigned counsel has conferred with counsel for defendant regarding the contents of
the proposed Docket Control Order. The parties are in agreement on the terms set forth in the order.

                                                          /s/ Thomas C. Wright
                                                          Thomas C. Wright
	  
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                                      CERTIFICATE OF SERVICE

               I hereby certify that all counsel of record who have consented to electronic service are
       being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
       5(a)(3) on this 14th day of August 8, 2017.

                                                        /s/ Thomas C. Wright
                                                        Thomas C. Wright
